473 F.2d 1372
    UNITED STATES of America, Plaintiff-Appellee,v.Vira RIVERA, Defendant-Appellant.
    No. M-72-8049 (72-2441).
    United States Court of Appeals,Ninth Circuit.
    Sept. 7, 1972.
    
      Henry W. Sands, in pro. per.
      James W. Meyers, Asst. U. S. Atty., for the United States.
      Before CHAMBERS and BROWNING, Circuit Judges.
      PER CURIAM:
    
    
      1
      After notice and a hearing, Henry W. Sands, a member of the bar of this court, is assessed a penalty of Five Hundred Dollars under Rule 46(c), Federal Rules of Appellate Procedure, for failure to prosecute the appeal of Vira Rivera with due diligence.
    
    
      2
      Payment shall be made into the Registry of the Clerk of the United States District Court for the Central District of California, at Los Angeles, within fourteen days from the date of the filing of this order.
    
    